          Case 1:16-cv-01857-APM Document 9 Filed 01/27/17 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    :
DESIREE WOODARD                     :
                                    :
      PLAINTIFF,                    :
                                    :     Civ. Action No. 16-01857 (APM)
v.                                  :
                                    :
DISTRICT OF COLUMBIA,               :
                                    :
      DEFENDANT.                    :
____________________________________:
______________________________________________________________________________

                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

Plaintiff Desiree Woodard and Defendant District of Columbia stipulate to the dismissal of all

claims in this case with prejudice. Each party to bear its own costs.

                                                     Respectfully Submitted,

                                                     /s/ Carolyn W. Houck, Esq.
                                                     Carolyn W. Houck
                                                     Attorney at Law
                                                     P.O. Box 252
                                                     St. Michaels, MD 21663
                                                     Telephone: 301-951-4278
                                                     Fax: 866-297-4248
                                                     Cwhouck1@gmail.com
                                                     D.C. Bar Number 459746
                                                     COUNSEL FOR PLAINTIFF

                                                     KARL A. RACINE
                                                     Attorney General for the
                                                     District of Columbia

                                                     GEORGE C. VALENTINE
                                                     Deputy Attorney General
                                                     Civil Litigation Division
        Case 1:16-cv-01857-APM Document 9 Filed 01/27/17 Page 2 of 2




                                        /s/ Veronica Porter___________
                                        VERONICA PORTER [412273]
                                        Acting Chief, Civil Litigation Division
                                        Section II


                                        /s/ Tasha Hardy____________
                                        TASHA HARDY [974511]
                                        Assistant Attorney General
                                        Office of the Attorney General
                                        441 Fourth Street, NW, 6th Floor-North
                                        Washington, D.C. 20001
                                        (202) 724-7794 (phone)
                                        (202) 741-8953 (facsimile)
                                        E-mail: tasha.hardy@dc.gov

January 27, 2017                        ATTORNEYS FOR DEFENDANT
